Case 6:15-cv-00268-CEM-KRS Document 21 Filed 10/27/15 Page 1 of 2 PageID 281



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

BRIDGET KING,

            Plaintiff,

-vs-                                         CASE NO.: 6:15-CV-00268-CEM-KRS

WYNDHAM VACATION RESORTS,
INC.

            Defendant.


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, BRIDGET KING, and the Defendant, WYNDHAM

VACATION RESORTS, INC., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate

to dismiss, with prejudice, each claim and count therein asserted by Plaintiff, against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own attorneys’

fees, costs, and expenses.

       Respectfully submitted this 27th day of October, 2015.

/s/ Amanda J. Allen                              /s/_David E. Cannella
AMANDA J. ALLEN, ESQUIRE                         DAVID E. CANNELLA, ESQUIRE
FL Bar No.: 0098228                              Florida Bar No.: 983837
MORGAN & MORGAN, P.A.                            CARLTON FIELDS JORDEN BURT, P.A.
One Tampa City Center                            450 S. Orange Ave., Suite 500
Tampa, FL 33602                                  Orlando, FL 32801
Tele: (813) 223-5505                             Telephone: (407) 244-8235
Fax: (813) 223-5402                              Facsimile: (407) 648-9099
Email: AAllen@ForThePeople.com                   Primary Email: dcannella@cfjblaw.com
Primary: lcrouch@forthepeople.com                Secondary: atokarz@cfjblaw.com
Attorney for Plaintiff                           Attorney for Defendant
Case 6:15-cv-00268-CEM-KRS Document 21 Filed 10/27/15 Page 2 of 2 PageID 282



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 27th day of October, 2015, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy of which was served via electronic mail, to:

DAVID E. CANNELLA, ESQUIRE
Florida Bar No.: 983837
CARLTON FIELDS JORDEN BURT, P.A.
450 S. Orange Ave.
Suite 500
Orlando, FL 32801
Telephone: (407) 244-8235
Facsimile: (407) 648-9099
Primary Email: dcannella@cfjblaw.com
Secondary: atokarz@cfjblaw.com
Attorney for Defendant




                                                      /s/ Amanda J. Allen___________
                                                      AMANDA J. ALLEN, ESQUIRE
                                                      Florida Bar No. 0098228
